Case 1:07-cv-01314-SAB Document 780 Filed 07/15/16 Page 1 of 1

  

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UNITED STATES DISTRICT COURT JUL 15 2016

EASTERN DISTRICT OF CALIFORNIA EASTERN DISTIJOY OF CALIFOAN A

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DEPUTY CLERK

IN RE TACO BELL,

AMENDED JUDGMENT IN A CIVIL
ACTION

1:07-cv-01314-SAB

 

JURY VERDICT: This action came before the Court fora
trial by jury. The issues have been tried and the jury has rendered
its verdict.

IT IS HEREBY ORDERED AND ADJUDGED that JUDGMENT BE ENTERED
IN FAVOR OF PLAINTIFFS AND AGAINST DEFENDANTS FOR THE UNDERPAID MEAL
PREMIUM CLASS. IT IS FURTHER ORDERED THAT JUDGMENT IS ENTERED IN FAVOR
OF DEFENDANTS AND AGAINST PLAINTIFFS FOR THE LATE MEAL PERIOD AND REST
PERIOD CLASSES.

IT IS HEREBY ORDERED AND ADJUDGED that JUDGMENT BE ENTERED
IN FAVOR OF PLAINTIFFS AND AGAINST DEFENDANTS FOR THE UNDERPAID MEAL
PREMIUM CLASS ON THE CALIFORNIA UNFAIR COMPETITION LAW CLAIM. IT IS
FURTHER ORDERED THAT JUDGMENT IS ENTERED IN FAVOR OF DEFENDANTS AND AGAINST
PLAINTIFFS FOR THE LATE MEAL PERIOD AND REST PERIOD CLASSES ON THE
CALIFORNIA UNFAIR COMPETITION LAW CLAIMS.

IT IS HEREBY ORDERED AND ADJUDGED THAT DAMAGES IN THE
AMOUNT OF $495,913.66 AND PREJUDGMENT INTEREST IN THE AMOUNT OF
$291,987.70 ARE AWARDED TO THE UNDERPAID MEAL PREMIUM CLASS.

DATED: + | \ S[Qo\\p

MARIANNE MATHERLY, Clerk

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Deputy Clerk

By:
